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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
        Plaintiff,                           )
                                             )
          v.                                 ) Case No: 1:12-cr-0119-TWP-DML-02
                                             )
 KENYA ROBINSON,                             )
                                             )
        Defendant.                           )

            ORDER DENYING SECOND MOTION TO REVOKE DETENTION

        This matter is before the Court on Defendant, Kenya Robinson’s (“Mrs. Robinson”)

 second motion to revoke detention or in the alternative to grant visitation with newborn. (Dkt.

 146). Pursuant to 18 U.S.C.A. § 3145(b), the District Court Judge has again reconsidered the

 Magistrate Judge’s Order of Detention, entered on August 2, 2012 (Dkt. 115) and this Court’s

 Order of Detention (Dkt. 129). The Court incorporates into evidence the pretrial services report

 (PS3) as well as all testimony, evidence and argument submitted at the prior hearings. The Court

 denied Defendant’s alternative motion to permit visitation with newborn as inmate visitation is

 against the policy of the U.S. Marshal’s office and poses a security risk. Defendant’s request to

 revoke detention was taken under advisement.

        The Court finds that the Government has met its burden of proof and offered sufficient

 evidence that Mrs. Robinson continues to pose a significant flight risk and a continuing risk of

 economic harm if released. Further, the Court finds that there are no conditions or combination

 of conditions which would overcome the unacceptably high risk that she would flee or pose a

 danger to safety of the community. Accordingly, the request for release from custody pending

 trial is DENIED.
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        Mrs. Robinson, her husband Devon Robinson and five other defendants, are charged with

 conspiracy to produce or traffic in counterfeit devices in violation of 18 U.S.C. § 1029(a)(1) and

 (b)(2). The charge carries a statutory minimum of 0 months to a maximum of 10 years

 imprisonment. Mrs. Robinson is a 25 year old mother of four children and has been detained at

 the Grayson County Detention Center in Kentucky, since July 6, 2012. Mrs. Robinson gave birth

 to her fourth child, Princess, on August 13, 2012. According to the neonatal nurse at Kosair

 Children’s Hospital:

        Princess was born at 33 6/7 weeks gestation, is currently on oxygen and is MRSA
        positive. She is diagnosed with hydrocephalus and has a ventricular access device
        in place. Princess will require surgery before discharge from the hospital and will
        be going home on oxygen and an apnea monitor and will require multiple follow
        up appointments for her care. She will need a consistent caregiver that is capable
        of utilizing the equipment necessary for her care and is able to provide adequate
        support for her needs.

 (See Def. Exhibit 1). Mrs. Robinson moves to have her detention revoked so that she may care

 for her newborn child. She argues the risk of her flight is diminished due to added

 responsibilities to care for a very ill infant and home detention in New York would be a

 sufficient condition to insure her reappearance.

        The Government argued that risk of flight was only one of the bases this Court found for

 detention, and offered additional evidence that Mrs. Robinson may still have access to

 counterfeit devices and currency which would provide the means and opportunity for continuing

 economic harm. The Court finds that the weight of the evidence against Mrs. Robinson remains

 strong and the risk of flight remains, despite the birth of a very sick child. Mrs. Robinson was on

 probation at the time of this alleged offense in the state of New York and she did not have

 permission to be in Indiana at the time of her arrest. A notice of probation violation has been

 filed for the New York offense and the United States Probation office has informed the Court



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 that a warrant was issued by the Queens County Criminal Court, on July 19, 2012 for Mrs.

 Robinson’s failure to appear in case #2011QN064417 and she may have another warrant in case

 #2010QN003503. The Court thus finds that release with conditions would likely be futile

 because of the open warrant(s) and that home detention would not deter the ability or inclination

 for Mrs. Robinson to continue to commit economic crimes.

        Title 18, United States Code Section 3142, provides that a defendant shall be detained

 upon a showing, by a preponderance of the evidence that no condition or combination of

 conditions will reasonably assure the appearance of the defendant, or by clear and convincing

 evidence that no conditions will provide for the safety of the community. The District Court’s de

 novo determination is that the Government has met its burden of proof in both respects and Mrs.

 Robinson’s second motion to revoke detention (Dkt. 146) is DENIED.

        Mrs. Robinson shall remain in the custody of the United States Marshal.



        SO ORDERED. 09/19/2012

                                                        ________________________
                                                        Hon. Tanya Walton Pratt, Judge
                                                        United States District Court
 DISTRIBUTION:                                          Southern District of Indiana


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 United States Marshal Service

 United States Probation Office


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